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  8                                    UNITED STATES DISTRICT COURT

  9                               SOUTHERN DISTRICT OF CALIFORNIA

 10     UNITED STATES OF AMERICA,          )              Case No. 08cr4406-BTM
                                           )
 11                        Plaintiff,      )              AMENDED ORDER OF
                                           )              CRIMINAL FORFEITURE
 12           v.                           )
                                           )
 13     JOSE FLORES, JR. (1),              )
           aka Shaggy,                     )
 14                                        )
                           Defendant.      )
 15     ___________________________________)

 16

 17            On October 7, 2009, this Court entered its Preliminary Order of Criminal Forfeiture, which

 18     condemned and forfeited to the United States all right, title and interest of JOSE FLORES, JR. (1)

 19     in the following properties:

 20                    a.      $1,500.00 in U.S. currency seized from Defendant’s apartment
                                on or about December 16, 2008, and
 21
                       b.      One 39 X. 7.62 caliber Norinco MAK-90 Rifle, S.N. 16048.
 22

 23            For thirty (30) consecutive days ending on June 26, 2010, the United States published on

 24     the Government’s forfeiture website, www.forfeiture.gov, notice of the Court's Order and the

 25     United States' intent to dispose of the properties in such manner as the Attorney General may

 26     direct, pursuant to 21 U.S.C. § 853(n) and Rule G(4) of the Supplemental Rules for Admiralty or

 27     Maritime Claims and Asset Forfeiture Actions, and further notifying all third parties of their right

 28     //
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  1     to petition the Court within thirty (30) days of the final publication for a hearing to adjudicate the

  2     validity of their alleged legal interest in the properties.

  3             On June 22, 2010, Notice of Order of Forfeiture was sent by certified mail as follows:

  4     Name and Address                                Article No.                     Result

  5     Jose Rojas (2)                          7007 2560 0001 9143 9422        Signed for as received on
        c/o Michael J. McCabe                                                   6/23/10
  6     Attorney at Law
        2442 Fourth Avenue
  7     San Diego, CA 92101

  8     Alberto Violante (3)                    7007 2560 0001 9143 9439        Signed for as received on
        c/o Steven E. Feldman                                                   6/23/10
  9     Attorney at Law
        934 23rd Street
 10     San Diego, CA 92102-1914

 11     Eduardo Pegueros (4)                    7007 2560 0001 9143 9446        Signed for as received on
        c/o Robert Carriedo                                                     6/23/10
 12     Attorney at Law
        105 West F Street, 3rd Floor
 13     San Diego, CA 92101-6036

 14     William Dunkle (5)                      7007 2560 0001 9143 9453        Signed for as received on
        c/o Oliver P. Cleary                                                    6/23/10
 15     Attorney at Law
        105 West F Street, Fourth Floor
 16     San Diego, CA 92101-6036

 17     Kevin Smith (6)                         7007 2560 0001 9143 9460        Signed for as received on
        c/o Shaun Khojayan, Esq.                                                6/24/10
 18     Law Offices of Shaun Khojayan
               & Associates PLC
 19     9454 Wilshire Blvd., Suite 600
        Beverly Hills, CA 90212
 20

 21             Thirty (30) days have passed following the final date of notice by publication and notice

 22     by certified mail, and no third party has made a claim to or declared any interest in the forfeited

 23     properties described above.

 24             Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that, as a result

 25     of the failure of any third party to come forward or file a petition for relief from forfeiture as

 26     provided by law, all right, title and interest of JOSE FLORES, JR. (1) and any and all third parties

 27     in the following properties are hereby condemned, forfeited and vested in the United States of

 28     America:

                                                           2                               08cr4406
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  1                     a.      $1,500.00 in U.S. currency seized from Defendant’s apartment
                                 on or about December 16, 2008, and
  2
                        b.      One 39 X. 7.62 caliber Norinco MAK-90 Rifle, S.N. 16048.
  3

  4             IT IS FURTHER ORDERED that costs incurred by the United States Marshals Service,

  5     the Federal Bureau of Investigation and any other governmental agencies which were incident to

  6     the seizure, custody and storage of the properties be the first charge against the forfeited properties.

  7             IT IS FURTHER ORDERED that the United States Marshals Service shall dispose of the

  8     forfeited properties according to law.

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 10     DATED: July 27, 2010

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 12                                                    Honorable Barry Ted Moskowitz
                                                       United States District Judge
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